Case 1:18-cv-02072-MN-CJB Document 11 Filed 02/27/19 Page 1 of 21 PageID #: 55



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 SAPPHIRE CROSSING LLC,

                           Plaintiff,
                                                   C.A. No. 18-2072 (LPS)
              v.
                                                JURY TRIAL DEMANDED
 HEALTHEQUITY, INC.,

                           Defendant.



   DEFENDANT HEALTHEQUITY, INC.’S OPENING BRIEF IN SUPPORT OF ITS
     RULE 12(b)(6) MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM

                                        FISH & RICHARDSON P.C.
                                        Jeremy D. Anderson (No. 4515)
                                        222 Delaware Avenue, 17th Floor
                                        Wilmington, Delaware 19801
                                        (302) 658-5070 (Telephone)
                                        (302) 652-0607 (Facsimile)
                                        janderson@fr.com

                                        Neil J. McNabnay
                                        Ricardo J. Bonilla
                                        Aaron P. Pirouznia
                                        FISH & RICHARDSON P.C.
                                        1717 Main Street, Suite 5000
                                        Dallas, Texas 75201
                                        (214) 747-5070 (Telephone)
                                        (214) 747-2091 (Facsimile)
                                        mcnabnay@fr.com
                                        rbonilla@fr.com
                                        pirouznia@fr.com


                                        COUNSEL FOR DEFENDANT
                                        HEALTHEQUITY, INC.

Dated: February 27, 2019
Case 1:18-cv-02072-MN-CJB Document 11 Filed 02/27/19 Page 2 of 21 PageID #: 56



                                              TABLE OF CONTENTS

                                                                                                                    Page)

I.     STAGE AND NATURE OF PROCEEDINGS ...................................................... II

II.    SUMMARY OF THE ARGUMENT ......................................................................1

III.   STATEMENT OF THE FACTS .............................................................................1

IV.    LEGAL STANDARDS ...........................................................................................4

       A.        Legal Standard for Dismissal Pursuant to Rule 12(b)(6) .............................4

       B.        Patentability is a Threshold Legal Issue. .....................................................4

       C.        The Law of 35 U.S.C. § 101 ........................................................................5

V.     ARGUMENT ...........................................................................................................6

       A.        Alice Step 1: The ’633 Patent is directed to the abstract idea of
                 data recognition and transfer. .......................................................................6

       B.        Alice Step 2: The claims contain no inventive concept to
                 transform the abstract idea into patent-eligible subject matter. .................13

VI.    CONCLUSION ......................................................................................................15




                                                                 i
Case 1:18-cv-02072-MN-CJB Document 11 Filed 02/27/19 Page 3 of 21 PageID #: 57



                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)

Cases

Affinity Labs, LLC v. DirectTV,
    LLC, 838 F.3d 1253 (Fed. Cir. 2016) ......................................................................................12

Alice Corp. Pty. Ltd. v. CLS Bank Int’l,
    134 S. Ct. 2347 (2014) ..................................................................................................... passim

Amdocs (Isr.) Ltd. v. Openet Telecom, Inc.,
  841 F.3d 1288 (Fed. Cir. 2016)..................................................................................................8

Ancora Technologies, Inc. v. HTC America, Inc.,
   2018 WL 6005021 (Fed. Cir. Nov. 16, 2018)....................................................................10, 11

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ...................................................................................................................4

Bancorp Servs. L.L.C. v. Sun Life Assur. Co.,
   687 F.3d 1266 (Fed. Cir. 2012)............................................................................................4, 14

Berkheimer v. HP Inc.,
   881 F.3d 1360 (Fed. Cir. 2018)................................................................................................15

Bilski v. Kappos,
    561 U.S. 593 (2010) .......................................................................................................4, 5, 6, 7

BSG Tech LLC v. Buyseasons, Inc.,
   899 F.3d 1281 (Fed. Cir. 2018)..................................................................................................7

buySAFE, Inc. v. Google, Inc.,
   765 F.3d 1350 (Fed. Cir. 2014)..........................................................................................11, 14

Content Extraction and Transmission LLC v. Wells Fargo Bank, Nat’l Ass’n,
   776 F.3d 1343 (Fed. Cir. 2014)....................................................................................12, 13, 14

Core Wireless Licensing S.A.R.L. v. LG Elec., Inc.,
   880 F.3d 1356 (Fed. Cir. 2018)................................................................................................10

Cuvillier v. Sullivan,
   503 F.3d 397 (5th Cir. 2007) .....................................................................................................4

CyberSource Corp. v. Retail Decisions, Inc.,
   654 F.3d 1366 (Fed. Cir. 2011)..................................................................................................5




                                                                    ii
Case 1:18-cv-02072-MN-CJB Document 11 Filed 02/27/19 Page 4 of 21 PageID #: 58



Data Engine Techs. LLC v. Google LLC,
   906 F.3d 999 (Fed. Cir. 2018)....................................................................................................9

Diamond v. Chakrabarty,
   447 U.S. 303 (1980) ...................................................................................................................5

Diamond v. Diehr,
   450 U.S. 175 (1981) ...................................................................................................................6

Digitech Image Techs., LLC v. Elecs. for Imaging, Inc.,
   758 F.3d 1344 (Fed. Cir. 2014)................................................................................................12

Elec. Power Grp., LLC v. Alstom S.A.,
   830 F.3d 1350 (Fed. Cir. 2016)....................................................................................10, 11, 15

Enfish, LLC v. Microsoft Corp.,
   822 F.3d 1327 (Fed. Cir. 2016)..................................................................................................7

Finjan, Inc. v. Blue Coat System, Inc.,
   879 F.3d 1299 (Fed. Cir. 2018)..................................................................................................7

Fort Props., Inc. v. Am. Master Lease LLC,
   671 F.3d 1317 (Fed. Cir. 2012)..................................................................................................6

Gibbs v. Coupe,
   No. CV 14-790-SLR, 2015 WL 6870033 (D. Del. Nov. 6, 2015) .............................................4

Gottschalk v. Benson,
   409 U.S. 63 (1972) .....................................................................................................................5

Internet Patents Corp. v. Active Network, Inc.,
    790 F.3d 1343 (Fed. Cir. 2015)............................................................................................9, 15

Mayo Collaborative Servs. v. Prometheus Labs., Inc.,
  132 S. Ct. 1289 (2012) .....................................................................................................5, 6, 12

McRO, Inc. v. Bandai Namco Games Am., Inc.,
  837 F.3d 1299 (Fed. Cir. 2016)..................................................................................................7

Parker v. Flook,
   437 U.S. 584 (1978) .............................................................................................................6, 11

Phoenix Licensing, L.L.C. v. Consumer Cellular, Inc.,
   No. 2:16-cv-152-JRG-RSP, 2017 WL 1065938 (E.D. Tex. Mar. 8, 2017) .............................12

RecogniCorp, LLC v. Nintendo Co.,
   855 F.3d 1322 (Fed. Cir. 2017)........................................................................................ passim




                                                                    iii
Case 1:18-cv-02072-MN-CJB Document 11 Filed 02/27/19 Page 5 of 21 PageID #: 59



SAP Am., Inc. v. InvestPic, LLC,
   898 F.3d 1161 (Fed. Cir. 2018)..................................................................................................7

In re TLI Commc’ns LLC Patent Litigation,
    823 F.3d 607 (Fed. Cir. 2016)..................................................................................................14

TriPlay, Inc. v. WhatsApp Inc.,
   2018 WL 1479027 (D. Del. Mar. 27, 2018) ............................................................................15

Two-Way Media Ltd. v. Comcast Cable Commc’ns, LLC,
   874 F.3d 1329 (Fed. Cir. 2017)..................................................................................................7

Ultramercial, Inc. v. Hulu, LLC,
    772 F.3d 709 (Fed. Cir. 2014) (Mayer, J., concurring)....................................................4, 9, 13

Unified Patents Inc. v. Ruby Sands LLC,
   IPR2016-00723, Paper No. 18 (PTAB Jan. 6, 2017) .............................................................2, 3

Victaulic Co. v. Tieman,
    499 F.3d 227 (3rd Cir. 2007) .....................................................................................................4

Statutes

35 U.S.C. § 101 ...................................................................................................................... passim

Other Authorities

Fed. R. Civ. P. 12 ...........................................................................................................................15

Fed. R. Civ. P. 12(b)(6)............................................................................................................1, 4, 6




                                                                      iv
Case 1:18-cv-02072-MN-CJB Document 11 Filed 02/27/19 Page 6 of 21 PageID #: 60



I.     STAGE AND NATURE OF PROCEEDINGS

       On December 28, 2018, Sapphire Crossing LLC filed this lawsuit accusing HealthEquity,

Inc. of infringing U.S. Patent No. 6,891,633. Sapphire accuses HealthEquity of infringing at least

Claim 19 of the ’633 Patent by HealthEquity’s alleged “making, using […], marketing, and

providing” a receipt scanning application available for download. (D.I. 1 at ¶ 21).

II.    SUMMARY OF THE ARGUMENT

       The ’633 Patent does not embrace patent-eligible subject matter. The claims of the patent

are directed to the abstract idea of data recognition and transfer, and none of the claims recites any

specific non-conventional hardware or software. In RecogniCorp, LLC v. Nintendo Co., 855 F.3d

1322 (Fed. Cir. 2017), the Federal Circuit held claims directed to encoding and decoding images

invalid under 35 U.S.C. § 101. The claims of the ’633 Patent cannot be meaningfully distinguished

from the RecogniCorp claims and are thus invalid for the same reasons.

       Resolving these issues does not require discovery or formal claim construction. To avoid

waste of judicial and party resources unnecessarily litigating invalid patents, HealthEquity requests

that the Court dismiss the Complaint pursuant to Rule 12(b)(6) of the Federal Rules of Civil

Procedure for failure to state a claim upon which relief can be granted.

III.   STATEMENT OF THE FACTS

       The ’633 Patent is entitled “Image Transfer System” and is directed to “an image transfer

device for reading and transferring an image from a first medium, and a computer.” ’633 Patent at

Abstract. The ’633 Patent sought to enhance copying machine functionality through an “enriched”

software and user interface by connecting it to a personal computer (“PC”) containing additional

features. Id. at 1:17–26. The PC can utilize its generic memory and processing power that the
Case 1:18-cv-02072-MN-CJB Document 11 Filed 02/27/19 Page 7 of 21 PageID #: 61



copier lacks to purportedly perform enriched functions (e.g., collation) and send instructions back

to the copier for output. Id. at 1:25–32.

       One embodiment of the invention involves connecting a “transfer apparatus” with a reader

capable of performing scanning functionality and a controller to a computer. See id. at 1:56–65.

Another embodiment describes “enhancing” the transfer device by expanding its operating

features. Id. at 2:16–33. The transfer device can be a standalone device such as a copier or fax

machine, but connecting it to a computer allegedly expands its stable of features. Id. at 3:55–67.

The details of these enrichments or enhancements, however, are missing from the specification

and the claims.

       Sapphire asserts claim 19 of the ’633 Patent, which is one of only two claims that survived

an inter partes Review.1 Compl. ¶ 21; see also Unified Patents Inc. v. Ruby Sands LLC, IPR2016-

00723, Paper No. 18 at 2 (PTAB Jan. 6, 2017). Claim 19, set forth below, is representative of the

remaining claims of the patent:

       19. A method for transferring information from a first medium, the method
          comprising the steps of:

       providing an image transfer device having a scanner for reading an image on the
          first medium;

       reading the image on the first medium with the scanner;

       automatically uploading electronic data including at least a portion of an image
           transfer menu to be displayed by the image transfer device to the transfer device
           from a computer connected to the transfer device;

       with a processor of the image transfer device, automatically merging the electronic
          data with the image read by the scanner; and

      transferring the merged image by the transfer device to a second medium.


1The petitioner in that IPR attacked cancelled claims 1-18 and 20-26 as being obvious under two
separate grounds, while separately attacking claims 19 and 20 based on anticipation. The PTAB
only instituted review on the obviousness grounds.


                                                2
Case 1:18-cv-02072-MN-CJB Document 11 Filed 02/27/19 Page 8 of 21 PageID #: 62




’633 Patent at cl. 19. This claim can be broken down into five main steps: (1) providing an image

transfer device with a scanner; (2) reading an image with the scanner; (3) uploading electronic data

from a computer to the image transfer device; (4) automatically merging the electronic data with

the image read by the scanner; and (5) transferring the merged image to another medium. Put

simply, these steps are directed to data recognition and data transfer.

       The specification evidences the conventionality of the components and processes for

carrying out the claimed method. For example, the claimed “image transfer device” can be virtually

any device containing a reader, CPU, memory, display, and user interface. See id. at 3:14–21 (“The

image transfer device 12 generally comprises a reader 18, a central processing unit (CPU) 20, a

memory 22, a display 24 and a user interface (UI) 26.”); 3:53–54 (“Thus, the image transfer device

may include a computer printer, a copier, a facsimile or an optical Scanner capability.”). The

claimed computer is also conventional. See id. at 3:42–43 (“The computer 14 generally includes a

processor 32 and a memory 34.”). And the “first medium” and “second medium” may be just a

“printed image” on a “sheet medium.” See id. at cl. 19; see also id. at 3:22–23 (“The reader 18 is

adapted to read a printed image on medium 100.”); 4:4–6 (“In the preferred embodiment, the

device 12 has an input area 40 in which the user places the sheet medium 100 for reading by the

reader 18.”); cl. 10 (“An electronic assembly in accordance with claim 1, wherein the image

transfer device is adapted to transfer the image to at least one of the computer connected to the

image transfer device, another computer located at first remote site, or a printing device for printing

the image on a Second medium at a first remote site.”). As such, the ’633 Patent’s image transfer

device, scanner, processor, and media are all conventional.




                                                  3
Case 1:18-cv-02072-MN-CJB Document 11 Filed 02/27/19 Page 9 of 21 PageID #: 63



IV.    LEGAL STANDARDS

       A.      Legal Standard for Dismissal Pursuant to Rule 12(b)(6)

       Under Rule 12(b)(6), a party may move to dismiss a complaint that fails to state a claim

upon which relief can be granted. To survive a Rule 12(b)(6) motion, a complaint “must allege

facts that ‘raise a right to relief above the speculative level on the assumption that the allegations

in the complaint are true (even if doubtful in fact).’” Victaulic Co. v. Tieman, 499 F.3d 227, 234

(3rd Cir. 2007) (citation omitted). In deciding a Rule 12(b)(6) motion, courts consider documents

attached to or incorporated into the complaint as well as facts alleged in the complaint. Gibbs v.

Coupe, No. CV 14-790-SLR, 2015 WL 6870033, at *1 (D. Del. Nov. 6, 2015) (citation omitted).

Although factual allegations are taken as true, legal conclusions are given no deference—those

matters are left for the court to decide. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (noting

tenet that allegations are taken as true on a motion to dismiss “is inapplicable to legal

conclusions”). “[W]hen the allegations in a complaint, however true, could not raise a claim of

entitlement to relief [as a matter of law], this basic deficiency should . . . be exposed at the point

of minimum expenditure of time and money by the parties and the court.” Cuvillier v. Sullivan,

503 F.3d 397, 401 (5th Cir. 2007) (internal citations and quotations omitted).

       B.      Patentability is a Threshold Legal Issue.

       Patentability under 35 U.S.C. § 101 is a threshold legal issue. Bilski v. Kappos, 561 U.S.

593, 602 (2010). Accordingly, the § 101 inquiry is properly raised at the pleadings stage if it is

apparent from the face of the patent that the asserted claims are not directed to eligible subject

matter. See Ultramercial, Inc. v. Hulu, LLC, 772 F.3d 709, 718–19 (Fed. Cir. 2014) (Mayer, J.,

concurring). In those situations, claim construction is not required to conduct a § 101 analysis.

Bancorp Servs. L.L.C. v. Sun Life Assur. Co., 687 F.3d 1266, 1273 (Fed. Cir. 2012) (“[W]e




                                                  4
Case 1:18-cv-02072-MN-CJB Document 11 Filed 02/27/19 Page 10 of 21 PageID #: 64



 perceive no flaw in the notion that claim construction is not an inviolable prerequisite to a validity

 determination under § 101.”).

        C.      The Law of 35 U.S.C. § 101

        Section 101 of the Patent Act sets forth four categories of patentable subject matter: “any

 new and useful process, machine, manufacture, or composition of matter.” 35 U.S.C. § 101. The

 law also recognizes three exceptions to patent eligibility: “laws of nature, physical phenomena,

 and abstract ideas.” Diamond v. Chakrabarty, 447 U.S. 303, 309 (1980) (emphasis added).

 Abstract ideas are ineligible for patent protection because a monopoly over these ideas would

 preempt their use in all fields. See Bilski, 561 U.S. at 611–12. In other words, “abstract intellectual

 concepts are not patentable, as they are the basic tools of scientific and technological work.” Id. at

 653 (quoting Gottschalk v. Benson, 409 U.S. 63, 67 (1972)).

        Determining whether a patent claim is impermissibly directed to an abstract idea involves

 two steps. First, the court determines “whether the claims at issue are directed to a patent-ineligible

 concept.” Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 134 S. Ct. 2347, 2355 (2014). Second, if the

 claim contains an abstract idea, the court evaluates whether there is “an ‘inventive concept’—i.e.,

 an element or combination of elements that is sufficient to ensure that the patent in practice

 amounts to significantly more than a patent upon the ineligible concept itself.” Id. (internal

 quotations and citations omitted).

        Transformation into a patent-eligible application requires “more than simply stating the

 abstract idea while adding the words ‘apply it.’” Id. at 2357 (quoting Mayo Collaborative Servs.

 v. Prometheus Labs., Inc., 132 S. Ct. 1289, 1294 (2012)). Indeed, if a claim could be performed in

 the human mind, or by a human using pen and paper, it is not patent-eligible. CyberSource Corp.

 v. Retail Decisions, Inc., 654 F.3d 1366, 1372 (Fed. Cir. 2011). Also, a claim is not meaningfully

 limited if it includes only token or insignificant pre- or post-solution activity—such as identifying


                                                   5
Case 1:18-cv-02072-MN-CJB Document 11 Filed 02/27/19 Page 11 of 21 PageID #: 65



 a relevant audience, category of use, field of use, or technological environment. Mayo, 132 S. Ct.

 at 1297–98, 1300–01; Bilski, 561 U.S. at 610; Diamond v. Diehr, 450 U.S. 175, 191–92 & n.14

 (1981); Parker v. Flook, 437 U.S. 584, 595 n.18 (1978). Finally, “simply appending conventional

 steps, specified at a high level of generality, to laws of nature, natural phenomena, and abstract

 ideas cannot make those laws, phenomena, and ideas patentable.” Mayo, 132 S. Ct. at 1300; see

 also Fort Props., Inc. v. Am. Master Lease LLC, 671 F.3d 1317, 1323 (Fed. Cir. 2012) (“Such a

 broad and general limitation does not impose meaningful limits on the claim’s scope.”).

 V.      ARGUMENT

         The Court should dismiss Sapphire’s Complaint pursuant to Rule 12(b)(6) because the ’633

 Patent’s claims are ineligible as directed to the abstract idea of data recognition and transfer. The

 claims cannot be meaningfully distinguished from those held patent-ineligible in RecogniCorp. As

 such, the ’633 Patent is invalid under 35 U.S.C. § 101.

         The claims of the ’633 Patent fail both prongs of the Alice test. First, each claim is directed

 to the abstract idea of data recognition and transfer, and abstract ideas are not eligible for patenting.

 Second, each claim lacks an “‘inventive concept’ . . . sufficient to ensure that the patent in practice

 amounts to significantly more than a patent upon the ineligible concept itself.” See Alice, 134 S.

 Ct. at 2355 (emphasis added). Because Sapphire has failed to state a claim upon which relief may

 be granted, HealthEquity respectfully requests that the Court grant its motion and dismiss this case

 with prejudice.

         A.      Alice Step 1: The ’633 Patent is directed to the abstract idea of data recognition
                 and transfer.

         The claims of the ’633 Patent fail step one of the Alice inquiry because they are directed to

 the abstract idea of data recognition and transfer. In determining patent eligibility under § 101, the

 Court must first determine whether the claims are directed to an abstract idea. Alice, 134 S. Ct. at



                                                    6
Case 1:18-cv-02072-MN-CJB Document 11 Filed 02/27/19 Page 12 of 21 PageID #: 66



 2355. Under any plausible reading, the claims of the ’633 Patent are directed to an abstract idea

 because they claim nothing more than the “longstanding,” “routine,” and “conventional” concept

 of data recognition and transfer. See Alice, 134 S. Ct. at 2356-59; Bilski, 561 U.S. at 611.

         The abstract idea inquiry begins by analyzing the “focus” of the claim, i.e., its “character

 as a whole,” in order to determine whether the claim is directed to an abstract idea. SAP Am., Inc.

 v. InvestPic, LLC, 898 F.3d 1161, 1167 (Fed. Cir. 2018). For example, the Federal Circuit has

 explained that courts should examine the patent’s “‘claimed advance’ to determine whether the

 claims are directed to an abstract idea.” Finjan, Inc. v. Blue Coat System, Inc., 879 F.3d 1299, 1303

 (Fed. Cir. 2018). “In cases involving software innovations, this inquiry often turns on whether the

 claims focus on ‘the specific asserted improvement in computer capabilities . . . or, instead, on a

 process that qualifies as an “abstract idea” for which computers are invoked merely as a

 tool.’” Id. (quoting Enfish, LLC v. Microsoft Corp., 822 F.3d 1327, 1335-36 (Fed. Cir.

 2016)); see BSG Tech LLC v. Buyseasons, Inc., 899 F.3d 1281, 1285-86 (Fed. Cir. 2018).

         Accordingly, at step one, the Federal Circuit has directed courts to “look to whether the

 claims focus on a specific means or method, or are instead directed to a result or effect that itself

 is the abstract idea and merely invokes generic processes and machinery.” Two-Way Media Ltd. v.

 Comcast Cable Commc’ns, LLC, 874 F.3d 1329, 1337 (Fed. Cir. 2017); McRO, Inc. v. Bandai

 Namco Games Am., Inc., 837 F.3d 1299, 1314 (Fed. Cir. 2016) (“We therefore look to whether the

 claims in these patents focus on a specific means or method that improves the relevant technology

 or are instead directed to a result or effect that itself is the abstract idea and merely invoked generic

 processes and machinery.”). The question in such cases is “whether the claims are directed to ‘a

 specific means or method’ for improving technology or whether they are simply directed to an

 abstract end-result.” RecogniCorp, LLC v. Nintendo Co., Ltd., 855 F.3d 1322, 1326 (Fed. Cir.




                                                    7
Case 1:18-cv-02072-MN-CJB Document 11 Filed 02/27/19 Page 13 of 21 PageID #: 67



 2017). Moreover, the Federal Circuit has held that instead of a specific definition of an abstract

 idea, “the decisional mechanism courts now apply is to examine earlier cases in which a similar or

 parallel descriptive nature can be seen—what prior cases were about, and which way they were

 decided.” Amdocs (Isr.) Ltd. v. Openet Telecom, Inc., 841 F.3d 1288 (Fed. Cir. 2016).

        The Recognicorp case held claims similar to those at issue here invalid under § 101. In

 Recognicorp, the Federal Circuit found the patent claim at issue to be directed toward the abstract

 idea of “encoding and decoding image data.” 855 F.3d at 1324. The claim at issue recited:

        A method for creating a composite image, comprising:

        displaying facial feature images on a first area of a first display via a first device
               associated with the first display, wherein the facial feature images are
               associated with facial feature element codes;

        selecting a facial feature image from the first area of the first display via a user
                interface associated with the first device,

        wherein the first device incorporates the selected facial feature image into a
               composite image on a second area of the first display, wherein the
               composite image is associated with a composite facial image code having
               at least a facial feature element code and wherein the composite facial image
               code is derived by performing at least one multiplication operation on a
               facial code using one or more code factors as input parameters to the
               multiplication operation; and

        reproducing the composite image on a second display based on the composite facial
               image code.

 Id. The Federal Circuit described the claim as a “method whereby a user displays images on a first

 display, assigns image codes to the images through an interface using a mathematical formula, and

 then reproduces the image based on the codes.” Id. at 1326. As such, the Court found that this

 method reflected nothing more than “standard encoding and decoding.” Id.

        Claim 19 of the ’633 Patent similarly falls short of claiming patent-eligible subject matter

 by only claiming the desired result—capturing, uploading, merging, and transferring an image—




                                                  8
Case 1:18-cv-02072-MN-CJB Document 11 Filed 02/27/19 Page 14 of 21 PageID #: 68



 without describing any specific roadmap for doing so. See Internet Patents Corp. v. Active

 Network, Inc., 790 F.3d 1343, 1348 (Fed. Cir. 2015). All Claim 19 of the ’633 Patent explains is a

 way to use a generic piece of hardware like a copier or fax machine in conjunction with a similarly

 generic computer to capture, upload, merge, and transfer images and associated data:

                              Claim Language                                        Claimed Idea

  A method for transferring information from a first medium, the method
     comprising the steps of:

      providing an image transfer device having a scanner for reading an deploying a scanner
         image on the first medium;                                      for reading data

      reading the image on the first medium with the scanner;                   capturing data

      automatically uploading electronic data including at least a portion uploading data
          of an image transfer menu to be displayed by the image transfer
          device to the transfer device from a computer connected to the
          transfer device;

      with a processor of the image transfer device, automatically merging data
         merging the electronic data with the image read by the scanner;
         and

      transferring the merged image by the transfer device to a second transferring data
          medium.

         At a high level, this claim describes the most generic functional steps of a standard

 computer (i.e., sending and receiving data). Such a broad concept is not patent eligible because it

 “recite[s] an abstraction—an idea, having no particular concrete or tangible form.” Ultramercial,

 772 F.3d at 715. That the claim purports to implement the steps with conventional components

 like an “image transfer device having a scanner” and a “computers” does not make it any less

 abstract.

         Claim 19 is directed to an abstract end-result. It lacks any of the specificity that the Federal

 Circuit has held is sufficient to confer patent eligibility. See Data Engine Techs. LLC v. Google




                                                    9
Case 1:18-cv-02072-MN-CJB Document 11 Filed 02/27/19 Page 15 of 21 PageID #: 69



 LLC, 906 F.3d 999 (Fed. Cir. 2018) (holding eligible claims with the required specificity, but

 ineligible those without it); Core Wireless Licensing S.A.R.L. v. LG Elec., Inc., 880 F.3d 1356,

 1361–63 (Fed. Cir. 2018) (holding claims eligible where they were “directed to a specific

 improvement in the capabilities of computing devices”) (emphasis added); RecogniCorp, 855 F.3d

 at 1326 (holding claims ineligible because they were not directed to “a specific means or method

 for improving technology”) (emphasis added). Indeed, Claim 19 does not require any sort of new

 or unconventional machine or process for capturing, uploading, merging, or transferring data—it

 requires only that well-known devices be connected to achieve an end-result of image transfer.

          “Inquiry therefore must turn to any requirements for how the desired result is achieved.”

 Elec. Power Grp., LLC v. Alstom S.A., 830 F.3d 1350, 1355 (Fed. Cir. 2016). But Claim 19 does

 not describe how the desired result—transfer of a captured and merged image—is achieved. It

 notes only a few simple criteria to achieve the end-result (e.g., a copier or fax-machine connected

 to a computer). The mechanism to implement the idea, however, is impermissibly unbounded in

 scope.

          Claim 19 thus differs from the claims that recite specific means for improving specific

 computer technology or solving specific computer problems. For example, the Federal Circuit

 recently addressed the eligibility of claims directed to improving computer security in Ancora

 Technologies, Inc. v. HTC America, Inc., 2018 WL 6005021 (Fed. Cir. Nov. 16, 2018). In that

 case, the Federal Circuit held the claims eligible and stated, “[i]mproving security—here, against

 a computer’s unauthorized use of a program—can be a non-abstract computer-functionality

 improvement . . . done by a specific technique that departs from earlier approaches to solve a

 specific computer problem.” Id. at *4 (emphasis added). The court was persuaded because “[t]he




                                                 10
Case 1:18-cv-02072-MN-CJB Document 11 Filed 02/27/19 Page 16 of 21 PageID #: 70



 claimed method . . . specifically identifie[d] how that functionality improvement [wa]s effectuated

 in an assertedly unexpected way.” Id.

        The same is not true here. Claim 19 of the ’633 Patent does not require a specific or

 unconventional technique, and it does not identify any specific improvement to computer

 functionality or image-transfer technology, much less an unexpected way of effectuating such an

 improvement. Instead, [i]t “claims a ‘process that qualifies as an “abstract idea” for which

 computers are invoked merely as a tool.” RecogniCorp, 855 F.3d at 1327 (internal citations

 removed). While the specification discusses “borrowing the processing power and memory

 capacity of a PC 14 to extend and enhance the functions of the multi function device 12,” Claim

 19 requires the processing to be done “with a processor of the image transfer device.” ’633 Patent

 at 15:32-41; 18:16-18. Thus, even the conventional improvements described by the specification

 do not apply to the embodiment captured by the claims.

        Claim 19 is abstract because it claims nothing more than capturing, uploading, merging,

 and transferring data, while limiting the use of this idea to images. “Most obviously, limiting the

 claims to [a] particular technological environment . . . is, without more, insufficient to transform

 them into patent-eligible applications of the abstract idea at their core.” Elec. Power Grp., 830

 F.3d at 1354. As the Supreme Court explained in Alice, its holding in Parker stands for the

 proposition that the prohibition on patenting abstract ideas cannot be circumvented by attempting

 to limit the use of the idea to a particular technological environment. Alice, 134 S. Ct. at 2358; see

 also buySAFE, Inc. v. Google, Inc., 765 F.3d 1350, 1355 (Fed. Cir. 2014) (“narrowing [claims] to

 cover only online transactions was an attempt to limit the use of the abstract guarantee idea to a

 particular technological environment, which has long been held insufficient to save a claim in this

 context”) (internal quotations and citations omitted).




                                                  11
Case 1:18-cv-02072-MN-CJB Document 11 Filed 02/27/19 Page 17 of 21 PageID #: 71



        The requirement of “automatically merging the electronic data with the image” does not

 make Claim 19 any less abstract. The Federal Circuit has repeatedly held claims with similar

 limitations to be directed to an abstract idea. See, e.g., RecogniCorp, 855 F.3d at 1327 (“the ‘303

 patent claims a method whereby a user starts with data . . . and ends with a new form of data”);

 Digitech Image Techs., LLC v. Elecs. for Imaging, Inc., 758 F.3d 1344, 1351 (Fed. Cir. 2014)

 (“The above claim recites a process of taking two data sets and combining them into a single data

 set, the device profile.”). Moreover, Claim 19 merges “electronic data including at least a portion

 of an image transfer menu . . . from a computer” (’633 Patent at 18:12-13), but the patent does

 not say what constitutes a “portion” of a menu or what an “image transfer menu” is. The claim

 thus lacks the requisite specificity to raise the claimed concept from abstract to patent-eligible.

        Claim 19 of the ’633 Patent is only surviving independent claim and is representative of

 both claims.2 The only other claim, dependent Claim 20, requires the electronic data uploaded

 from the computer to stay with the image transfer device after the computer is disconnected. ’633

 Patent at cl. 20. This added limitation does not alter the analysis. Mayo, 132 S. Ct. at 1292

 (“[S]imply appending conventional steps, specified at a high level of generality, to […] abstract

 ideas cannot make [them] patentable”). As such, adding the insignificant, post-solution idea that

 the uploaded data should not be deleted with disconnection of the device does nothing to change

 the ineligibility of the claims, especially because the claim does not describe how this solution is

 achieved. See, e.g., Affinity Labs, LLC v. DirectTV, LLC, 838 F.3d 1253, 1259 (Fed. Cir. 2016)




 2
   Where claims are “substantially similar and linked to the same abstract idea,” courts may look to
 representative claims in a § 101 analysis. Content Extraction and Transmission LLC v. Wells
 Fargo Bank, Nat’l Ass’n, 776 F.3d 1343, 1348 (Fed. Cir. 2014); see also Phoenix Licensing, L.L.C.
 v. Consumer Cellular, Inc., No. 2:16-cv-152-JRG-RSP, 2017 WL 1065938, at *8–9 (E.D. Tex.
 Mar. 8, 2017) (invalidating 974 claims after analyzing only a few “representative claims” where
 the other claims were “substantially similar” and “linked to the same abstract idea.”).


                                                  12
Case 1:18-cv-02072-MN-CJB Document 11 Filed 02/27/19 Page 18 of 21 PageID #: 72



 (“Even if all the details contained in the specification were imported into the [ ] claims, the result

 would still not be a concrete implementation of the abstract idea. In fact, the specification

 underscores the breadth and abstract nature of the idea embodied in the claims.”) Indeed, the claims

 in Content Extraction were directed to data recognition and storage, and are not meaningfully

 distinguished from the storage element of Claim 20. Therefore, the ’633 Patent is directed to the

 abstract idea of data recognition and transfer and fails step one of Alice.

         B.      Alice Step 2: The claims contain no inventive concept to transform the abstract
                 idea into patent-eligible subject matter.

         The ’633 Patent also fails step two of the Alice inquiry. Because the patent is directed to

 an abstract idea, step two requires the Court to determine whether the patent contains an “inventive

 concept sufficient to transform the claimed abstract idea into a patent eligible application.” Alice,

 134 S. Ct. at 2357 (internal quotations omitted). To pass this test, the ’633 Patent “must include

 additional features” that “must be more than well-understood, routine, conventional activity.”

 Ultramercial, 772 F.3d at 715 (quotation omitted). Here, the ’633 Patent is broadly generic and

 does not contain meaningful limitations that would restrict it to a non-routine, specific application

 of the abstract idea.

         Each of the steps of the ’633 Patent is described only at a high level of generality. The

 patent requires “transferring information from a first medium,” “providing an image transfer

 device having a scanner for reading an image,” “uploading electronic data . . . to the transfer device

 from a computer connected to the transfer device,” “merging the electronic data with the image

 read by the scanner,” and “transferring the merged image by the transfer device to a second

 medium.” To accomplish these steps, the ’633 Patent recites the use of an “image transfer device

 having a scanner” and “a computer connected to the transfer device.” But the claimed “image




                                                  13
Case 1:18-cv-02072-MN-CJB Document 11 Filed 02/27/19 Page 19 of 21 PageID #: 73



 transfer device” can be virtually any device capable of taking a photograph. See ’633 Patent at

 3:53-54.

        The claims of the ’633 Patent are implemented on generic computer technology and

 therefore do not contain an inventive concept sufficient to confer eligibility. There is simply

 nothing “inventive” about using a known process (i.e., scanning images) and implementing it

 based on computer resources. As explained above, the abstract functional descriptions in the

 remaining claims of the ’633 Patent are devoid of any technical explanation as to how to implement

 the purported invention in an inventive way. See In re TLI Commc’ns LLC Patent Litigation, 823

 F.3d 607, 615 (Fed. Cir. 2016) (claims failed Alice’s step 2 where specification limited its

 discussion of “additional functionality” of conventional components “to abstract functional

 descriptions devoid of technical explanation as to how to implement the invention”). Similar to

 the invalidated claims in Intellectual Ventures I LLC v. Symantec Corp., nothing in the ’633

 Patent’s claims “contains an ‘inventive concept’ sufficient to ‘transform’ the claimed abstract idea

 into a patent-eligible application.” 838 F.3d 1307, 1316 (Fed. Cir. 2016) (citing omitted).

        Courts have repeatedly held that the presence of generic hardware and software like the

 kind recited in the claims of the ’633 Patent does not make an otherwise abstract idea patent-

 eligible. See, e.g., buySAFE, 765 F.3d at 1355 (“That a computer receives and sends the

 information over a network—with no further specification—is not even arguably inventive.”);

 Content Extraction, 776 F.3d at 1348 (“At most, [the] claims attempt to limit the abstract idea of

 recognizing and storing information from hard copy documents using a scanner and a computer to

 a particular technological environment. Such a limitation has been held insufficient to save a claim

 in this context.”); Bancorp, 687 F.3d 1276–77. The claims require only a “computer processor and

 memory” and an image transfer device such as a copier or fax machine. Consequently, the claims




                                                 14
Case 1:18-cv-02072-MN-CJB Document 11 Filed 02/27/19 Page 20 of 21 PageID #: 74



 recite only generic components along with generic hardware with scanning functionality. “Nothing

 in the claims, understood in light of the specification, requires anything other than off-the-shelf,

 conventional computer . . . technology.” Elec. Power Grp., 830 F.3d at 1355. Thus, there is no

 limitation that could be considered an inventive concept under step two of the Alice test.

         The ’633 Patent does not contain any discussion of unconventionality that would be

 relevant to the § 101 analysis. It “is silent as to what the specific claimed improvement is, how it

 differs from the prior art, or how any inventive feature, alone or as an ordered combination, is used

 in an unconventional manner.” TriPlay, Inc. v. WhatsApp Inc., 2018 WL 1479027, at *8 (D. Del.

 Mar. 27, 2018) (citing Berkheimer v. HP Inc., 881 F.3d 1360, 1368 (Fed. Cir. 2018)) (emphasis

 added). Accordingly, it is unlike the claims in Berkheimer that led to factual disputes making the

 eligibility determination improper at the Rule 12 stage. See id. The patent expressly states that it

 does not utilize any particular non-conventional mechanism for achieving the result. See Internet

 Patents, 790 F.3d at 1348. Neither the claims nor the specification raises any factual disputes, and

 this case is thus ripe for the Court to address the eligibility issue at Rule 12

         Because the claims of the ’633 Patent are devoid of any “inventive concept,” they fail step

 two and are patent-ineligible under § 101. See Alice, 134 S. Ct. at 2359–60.

 VI.     CONCLUSION

         For the foregoing reasons, HealthEquity respectfully requests that the Court dismiss

 Sapphire’s Complaint for failure to state a claim upon which relief can be granted. Because leave

 to amend would be futile, HealthEquity requests dismissal with prejudice.




                                                   15
Case 1:18-cv-02072-MN-CJB Document 11 Filed 02/27/19 Page 21 of 21 PageID #: 75



 Dated: February 27, 2019              FISH & RICHARDSON P.C.


                                       By: /s/ Jeremy D. Anderson
                                           Jeremy D. Anderson (No. 4515)
                                           222 Delaware Avenue, 17th Floor
                                           Wilmington, Delaware 19801
                                           (302) 658-5070 (Telephone)
                                           (302) 652-0607 (Facsimile)
                                           janderson@fr.com

                                           Neil J. McNabnay
                                           Ricardo J. Bonilla
                                           Aaron P. Pirouznia
                                           1717 Main Street, Suite 5000
                                           Dallas, Texas 75201
                                           (214) 747-5070 - Telephone
                                           (214) 747-2091 - Facsimile
                                           mcnabnay@fr.com
                                           rbonilla@fr.com
                                           pirouznia@fr.com

                                       COUNSEL FOR DEFENDANT
                                       HEALTHEQUITY, INC.




                                      16
